 Case 1:19-cv-02207-MN Document 52 Filed 11/20/20 Page 1 of 2 PageID #: 907




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


ACUITY BRANDS LIGHTING, INC.,

              Plaintiff,
                                                  C.A. No. 19-2207-MN
       v.

ULTRAVISION TECHNOLOGIES, LLC,

              Defendant.


                                   NOTICE OF SERVICE

       PLEASE TAKE NOTICE that, on November 20, 2020, copies of (1) Ultravision’s

Preliminary Infringement Contentions with Appendices A-E and (2) this Notice of Service

were served on the following counsel via email:


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 Case 1:19-cv-02207-MN Document 52 Filed 11/20/20 Page 2 of 2 PageID #: 908




Dated: November 20, 2020              BAYARD, P.A.

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